                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               GREENEVILLE DIVISION

B.P., et al.,

        Plaintiffs,

v.                                                             No: 2:23-cv-00071-TRM-JEM


CITY OF JOHNSON CITY, TENNESSEE, et al.,

      Defendants.
__________________________________/
                       NOTICE OF LODGING DOCUMENTS UNDER SEAL
        TO THE COURT AND ITS ATTORNEYS OF RECORD:

         Plaintiffs hereby give notice that they are provisionally lodging under seal Exhibit 2 to

the Declaration of Vanessa Baehr-Jones in support of Plaintiffs’ Reply in Support of Plaintiffs’

Renewed Motion to Enjoin Extrajudicial Conduct and Motion for Sanctions (“Plaintiffs’

Reply”). Exhibit 2 is an email from David Hilton to Karl Turner and other JCPD personnel,

dated September 19, 2020, that relates to the investigation of Sean Williams. Plaintiffs are filing

provisionally under seal because, as set forth in the accompanying declaration, counsel for

Defendants assert that the District Attorney’s office has asserted an investigatory privilege over

Exhibit 2.

        Plaintiffs see no legal basis for continuing to seal police case notes relating to Sean

Williams’ crimes, particularly where all sensitive survivor information has been redacted. To the

contrary, continuing to litigate this case behind closed doors undermines the public function of

the Court and denies the survivors, the Class Members, and the community the accountability

they deserve—accountability which is long overdue. See Shane Grp., Inc. v. Blue Cross Blue

Shield of Michigan, 825 F.3d 299, 305 (6th Cir. 2016) (“[I]n class actions—where by definition
‘some members of the public are also parties to the [case]’—the standards for denying public

access to the record ‘should be applied ... with particular strictness.’”). Plaintiffs therefore

request the Court decline to keep Exhibit 2 under seal.

Dated: July 19, 2024                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I HEREBY certify that a copy of the foregoing has been filed and served via the court’s
electronic filing system on July 19, 2024 to counsel of record:

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                                                    /s/ Vanessa Baehr-Jones
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